                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

               Plaintiff,

       v.                                                    Case No. 97-CR-98

DAVID KADLEC,

               Defendant.


   UNITED STATES’ MOTION FOR AN EXTENSION TO FILE COMPASSIONATE
                         RELEASE RESPONSE


       The United States of America, by its attorneys, Richard G. Frohling, United States

Attorney for the Eastern District of Wisconsin, and Carol L. Kraft, Assistant United States

Attorney, hereby moves the Court for an extension to file the government’s response to David

Kadlec’s compassionate release motion.

       On December 7, 2021, Kadlec filed a pro se motion entitled “David Kadlec’s Pro Se

Expedited Motion for Compassionate Release Based on 18 U.S.C. §3582(c)(1)(A); Motion for

Phone Records; and Motion to Appoint Counsel.” Dkt. 2266. On December 13, 2021, the Court

granted a motion to withdraw as Kadlec’s counsel, filed by Attorney Alexander Basinski, and

directed the Federal Defender Service to inform the Court whether the Federal Defender would

file anything on Kadlec’s behalf. Dkt. 2267. On January 11, 2022, the Federal Defender filed a

letter opining that Kadlec appears to have valid reasons for seeking compassionate release,

asserting that the Federal Defender has a conflict of interest, and requesting that the Court order

appointment of counsel for Kadlec. Dkt. 2268. On January 21, 2022, the Court signed an order




         Case 2:97-cr-00098-JPS Filed 02/07/22 Page 1 of 2 Document 2271
directing the government to respond to Kadlec’s motion within fourteen days. The Court’s order

was entered on the docket on January 24, 2022. Dkt. 2270.

       By this motion, the United States seeks an extension of one week to Monday, February

14, 2022 to file its response. As grounds, undersigned counsel represents that counsel has

contacted the Bureau of Prisons (BOP) to request information relevant to the government’s

response, including a copy of Kadlec’s administrative request for compassionate release, the

Warden’s response to the same, Kadlec’s current medical records, and other information related

to his incarceration. To date, an attorney for the BOP has been able to provide some, but not all

of the information requested by government counsel but has indicated he is working on the

request and that other items will be forthcoming. Accordingly, the government is requesting

additional time to receive and review the documents and incorporate their content into the

government’s response.

       Dated this 7th day of February 2022.

                                                     Respectfully submitted,

                                                     RICHARD G. FROHLING
                                                     United States Attorney

                                              BY:    s/Carol L. Kraft
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        Case 2:97-cr-00098-JPS Filed 02/07/22 Page 2 of 2 Document 2271
